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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


     ATTORNEY MONTHLY FEE STATEMENT COVER SHEET FOR THE PERIOD OF
           MARCH 1, 2024 THROUGH AND INCLUDING MARCH 31, 2024

                                         1
 In re: Rite Aid Corporation, et al.                     Applicant: Wilson Sonsini Goodrich & Rosati, P.C.

 Case No. 23-18993 (MBK)                                 Client: Board of Directors of Debtor Rite Aid
                                                         Corporation
 Chapter 11
                                                         Case Filed: October 15, 2023

      COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION
           UNDER PENALTY OF PERJURY PURSUANT TO 28 U.S.C. § 1746.

                                    RETENTION ORDER ATTACHED.




                                                             /s/ Erin R. Fay                        5/14/2024
                                                            ERIN R. FAY                             Date




 1
      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The
      location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.



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                                       SECTION I
                                     FEE SUMMARY


 Summary of Amounts Requested for the Period
 March 1, 2024 through March 31, 2024 (the “Compensation Period”)

 Fee Total                                                            $220,228.50
 Disbursement Total                                                        $83.40
 Total Fees Plus Disbursements                                        $220,311.90


 Summary of Amounts Requested for Previous Periods

 Total Previous Fees and Expenses Requested:                          $818,798.30
 Total Fees and Expenses Allowed to Date:                             $655,123.90
 Total Retainer Remaining:                                            $239,717.16
 Total Holdback:                                                      $163,674.40
 Total Received by Applicant:                                         $655,123.90




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   Name of Professional
        and Title            Year Admitted    Hours        Rate            Fee
    Katharine A. Martin        1987 (CA)       13.6       $1,840        $25,024.00
         Member

     Ignacio E. Salceda        1993 (CA)       0.6        $1,745        $1,047.00
          Member

    Amy L. Simmerman           2007 (DE)       12.9       $1,465        $18,898.50
        Member                 2012 (PA)

     Madeleine Boshart         1999 (CA)       6.8        $1,460        $9,928.00
         Member

   Tamara M. Brightwell        2003 (VA)       13.2       $1,410        $18,612.00
        Member                 2023 (DC)

          Erin R. Fay          2009 (DE)       28.8       $1,250        $36,000.00
           Member              2009 (WI)

      Rebecca L. Stuart        2007 (CA)       1.6        $1,250        $2,000.00
          Member

    Jason B. Schoenberg        2017 (DE)       28.5       $1,145        $32,632.50
         Associate

     Catherine C. Lyons        2022 (DE)       27.7       $1,110        $30,747.00
         Associate             2019 (NY)
                               2023 (TX)

   Courtney R. Matteson         2019 (CA)      11.2       $1,110        $12,432.00
        Associate              2019 (D.C.)

        Sarah M. Hand          2022 (DE)       9.3         $850         $7,905.00
          Associate

           Isaac Reed          2022 (CA)       11.7        $770         $9,009.00
            Associate

          Partha Vora          2023 (CA)       0.2         $670          $134.00
           Associate

        Lynzy McGee                n/a         32.7        $485         $15,859.50
       Senior Paralegal

            TOTALS                n/a         198.8         n/a        $220,228.50



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                                SECTION II
                            SUMMARY OF SERVICES


              Services Rendered                 Hours               Fees
  Case Administration                            7.9             $5,617.00
  Court Hearing                                  4.2             $4,148.00
  Fee/Employment Applications – WSGR             40.7            $28,852.50
  Employee Benefits/Pensions                     9.9             $13,803.00
  Board of Directors Matters                    119.6           $148,251.50
  Plan and Disclosure Statement                  16.5            $19,556.50
  SERVICES TOTALS                               198.8           $220,228.50




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                              SECTION III
                        SUMMARY OF DISBURSEMENTS


                        Disbursements                             Amount
  Reproduction                                                     $7.20
  Lexis Database Service                                           $76.20
  DISBURSEMENTS TOTAL                                              $83.40




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                                                   SECTION IV
                                                  CASE HISTORY

 (1)       Date cases filed:           October 15, 2023

 (2)       Chapter under which cases commenced: Chapter 11

 (3)       Date of retention: January 10, 2024, nunc pro tunc to October 15, 2023. See Exhibit A.

           If limit on number of hours or other limitations to retention, set forth: n/a

 (4)       Summarize in brief the benefits to the estate and attach supplements as needed:2

           (a)      The Applicant advised the board of directors of Debtor Rite Aid Corporation (the
                    “Board”) regarding, among other things, the fulfilment of director obligations and
                    duties under applicable law, negotiations with various parties, and the proposed
                    resolution of numerous other issues in the chapter 11 cases.

           (b)      The Applicant reviewed, commented on, and advised the Board regarding the
                    substance of the Debtors’ motions for various relief, with particular attention to
                    Board related issues.

           (c)      The Applicant attended hearings in the chapter 11 cases on behalf of the Board.

           (d)      The Applicant attended, transcribed minutes of, provided advice at, and assisted
                    with materials related to meetings of the Board, meetings of the special committee
                    of the Board, and meetings of various subcommittees of the Board.

           (e)      The Applicant advised the Board with respect to corporate governance
                    considerations, other Board related issues, and disclosure obligations related to the
                    Company’s securities filings. The Applicant reviewed and revised drafts of such
                    securities filings.

           (f)      The Applicant drafted and filed two monthly applications for compensation for
                    Wilson Sonsini Goodrich & Rosati, P.C., as special counsel to the Board.

           (g)      The Applicant rendered all other services set forth on the invoices attached hereto
                    as Exhibit B.3




 2
       The following summary is intended to highlight the general categories of services the Applicant rendered on
       behalf of the Debtors and for the benefit of the estates; it is not intended to itemize each and every professional
       service which the Applicant performed.
 3
       The invoice attached hereto as Exhibit B contains detailed descriptions of the services rendered and expenses
       incurred by the Applicant during the Compensation Period.


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 (5)       Anticipated distribution to creditors:

           (a)      Administration expense: Unknown at this time.

           (b)      Secured creditors: Unknown at this time.

           (c)      Priority creditors: Unknown at this time.

           (d)      General unsecured creditors: Unknown at this time.

 (6)       Final disposition of case and percentage of dividend paid to creditors: Unknown at this
           time.

 (7)       This is the fourth monthly fee statement.




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                                   Exhibit A

                                Retention Order




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   Caption in Compliance with D.N.J. LBR 9004-1(b)
       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
                                                                                                       Order Filed on January 10, 2024
                                                                                                       by Clerk
       In re:                                                             Chapter 11                   U.S. Bankruptcy Court
                                                                                                       District of New Jersey
       RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                          Debtors. 1                      (Jointly Administered)


            ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
        WILSON SONSINI GOODRICH & ROSATI, P.C. AS SPECIAL BOARD COUNSEL
                       EFFECTIVE AS OF THE PETITION DATE

                The relief set forth on the following pages, numbered three (3) through eight (8) is

   ORDERED.




DATED: January 10, 2024




   1
          The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
          Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
          website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
          Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
          cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)

 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP
 Edward O. Sassower, P.C.
 Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Aparna Yenamandra, P.C. (admitted pro hac vice)
 Ross J. Fiedler (admitted pro hac vice)
 Zachary R. Manning (admitted pro hac vice)
 601 Lexington Avenue
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 Telephone: (212) 446-4800
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 ross.fiedler@kirkland.com
 zach.manning@kirkland.com

 COLE SCHOTZ P.C.
 Michael D. Sirota, Esq.
 Warren A. Usatine, Esq.
 Felice R. Yudkin, Esq.
 Court Plaza North, 25 Main Street
 Hackensack, New Jersey 07601
 Telephone: (201) 489-3000
 msirota@coleschotz.com
 wusatine@coleschotz.com
 fyudkin@coleschotz.com

 Proposed Co-Counsel for Debtors and Debtors in Possession
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                         WILSON SONSINI GOODRICH & ROSATI, P.C. AS SPECIAL BOARD
                         COUNSEL EFFECTIVE AS OF THE PETITION DATE

         Upon the application (the “Application”) 2 of Rite Aid Corporation, and its affiliated debtors

 and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases for

 entry of an order (this “Order”) authorizing the Debtors’ retention and employment of Wilson

 Sonsini Goodrich & Rosati, P.C. (“WSGR”) as special counsel to the board of directors (the

 “Board”) of Debtor Rite Aid Corporation, effective as of the Petition Date, with regard to Board

 Matters, pursuant to sections 327(e) and 330 of the Bankruptcy Code and Bankruptcy Rules

 2014(a) and 2016; and upon consideration of the Fay Declaration, the Sabatino Declaration, and

 the First Day Declaration; and the Court having jurisdiction to consider the Application and the

 relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

 of Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

 District of New Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle,

 C.J.); and consideration of the Application and the relief requested therein being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and this Court having found that venue of this proceeding and the

 Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

 reviewed the Application, the Fay Declaration, the Sabatino Declaration, and the First Day

 Declaration; and the Court having found, based on the representations made in the Application and

 the Fay Declaration, that WSGR does not hold or represent any interest adverse to the Debtors or

 to the Debtors’ estates with respect to the matters on which it is to be employed, as required by

 section 327(e) of the Bankruptcy Code; and this Court having found that sufficient cause exists to

 grant the relief set forth herein; and this Court having found that the Debtors’ notice of the


 2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Application.
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                       WILSON SONSINI GOODRICH & ROSATI, P.C. AS SPECIAL BOARD
                       COUNSEL EFFECTIVE AS OF THE PETITION DATE

 Application was appropriate under the circumstances and no other or further notice need be

 provided; and this Court having reviewed the Application and determined that the legal and factual

 bases set forth in the Application establish just cause for the relief granted herein; and after due

 and deliberation and sufficient cause appearing therefor

         IT IS HEREBY ORDERED THAT:

         1.     The Application is GRANTED as set forth herein.

         2.     The Debtors are authorized, pursuant to section 327(e) of the Bankruptcy Code, to

  retain and employ WSGR as special counsel to the Board to the extent set forth herein, effective

  as of the Petition Date.

         3.     WSGR is authorized to render professional services to the Board.

         4.     WSGR shall apply for (a) compensation for professional services rendered and

  (b) reimbursement of expenses incurred in connection with these cases, in both cases subject to the

  Court’s approval and in compliance with the applicable provisions of the Bankruptcy Code,

  including sections 330 and 331, the Bankruptcy Rules, the Local Rules, and any other

  applicable procedures or orders of the Court. WSGR shall also make a reasonable effort to

  comply with the Guidelines for Reviewing Applications for Compensation and

  Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter

  11 Cases Effective as of November 1, 2013, both in connection with this Application and

  the fee applications filed by WSGR in the chapter 11 cases.

         5.     Notwithstanding anything in the Application, the Fay Declaration, or any

  Engagement Letter to the contrary, WSGR shall apply any remaining amounts of its
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  prepetition retainer as a credit toward post-petition fees and expenses, after such post-

  petition fees and expenses are approved pursuant to an order of the Court awarding fees

  and expenses to WSGR. At the conclusion of WSGR’s engagement by the Debtors, if the

  amount of the prepetition retainer held by WSGR is in excess of the amount of WSGR’s

  outstanding estimated fees, expenses and costs, WSGR will pay to the Debtors the amount

  by which the prepetition retainer exceeds such fees, expenses and costs. WSGR is

  authorized without further order of the Court to reserve and apply amounts from the

  prepetition retainer that would otherwise be applied toward payment of post-petition fees

  or expenses to compensate and reimburse WSGR for fees and expenses incurred on or prior

  to the Petition Date consistent with the Firm’s ordinary course billing practice.

         6.    Prior to applying any increases in its hourly rates beyond the rates set forth in

  the Application, WSGR shall provide ten (10) days’ prior notice of any such increases to

  the Debtors, the U.S. Trustee, the UCC, and the TCC and shall file any such notice with

  the Court. All parties in interest retain rights to object to any rate increase on all grounds,

  including the reasonableness standard set forth in section 330 of the Bankruptcy Code, and

  the Court retains the right to review any rate increase pursuant to section 330 of the

  Bankruptcy Code.

         7.    WSGR (i) shall only bill 50% for non-working travel; and (ii) shall not seek

  the reimbursement of any fees or costs, including attorney’s fees and costs, arising from

  the defense of any objections to any of WSGR’s fee applications in these cases; (iii) shall

  use the billing and expense categories set forth in the U.S. Trustee Guidelines (Exhibit D-1
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  “Summary of Compensation Requested by Project Category”); and (iv) shall provide any

  and all monthly fee statements, interim fee applications, and final fee applications in

  “LEDES” format to the U.S. Trustee.

         8.     Notwithstanding anything in the Application, the Fay Declaration, or the

  Sabatino Declaration to the contrary, WSGR shall seek reimbursement from the Debtors’

  estates for its engagement-related expenses at the firm’s actual cost paid.

         9.     In order to avoid any duplication of effort and provide service in the most

  efficient and cost-effective manner, WSGR shall coordinate with Kirkland & Ellis LLP,

  Kirkland & Ellis International LLP, Cole Schotz P.C., and any additional firms retained on

  behalf of the Debtors regarding their respective responsibilities in these chapter 11 cases.

  As such, WSGR shall use its best efforts to avoid duplication of services provided by any

  of the Debtors’ other retained professionals in these chapter 11 cases.

         10.    Notwithstanding anything in the Application, the Fay Declaration, or the Sabatino

  Declaration to the contrary, WSGR shall (i) to the extent that WSGR uses the services of

  independent contractors or subcontractors (collectively, the “Contractors”) in these cases, pass

  through the costs of such Contractors at the same rate that WSGR pays the Contractors; (ii) seek

  reimbursement for actual costs only; (iii) ensure that the Contractors are subject to the same

  conflicts checks as required for WSGR; (iv) file with this Court such disclosures required by

  Bankruptcy Rule 2014; and (v) attach any such Contractor invoices to its monthly fee statements,

  interim fee applications and/or final fee applications filed in these chapter 11 cases.
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                       WILSON SONSINI GOODRICH & ROSATI, P.C. AS SPECIAL BOARD
                       COUNSEL EFFECTIVE AS OF THE PETITION DATE

         11.      No agreement or understanding exists between WSGR and any other person other

  than as permitted by section 504 of the Bankruptcy Code, to share compensation received for

  services rendered in connection with these cases, nor shall WSGR share or agree to share

  compensation received for services rendered in connection with these cases with any other person,

  other than as permitted by section 504 of the Bankruptcy Code.

         12.      The Debtors and WSGR are authorized to take all actions necessary to effectuate

  the relief granted pursuant to this Order in accordance with the Application.

         13.      If the Court denies the Debtors’ Motion for Entry of an Order Authorizing the

  Debtors to File Under Seal the Names of Certain Confidential Transaction Parties in Interest

  Related to the Debtors’ Professional Retention Applications [Docket No. 806] (the “Motion to

  Seal”), or the Motion to Seal is withdrawn or the relief requested therein is moot, WSGR will,

  within fourteen days of such denial, withdrawal or other resolution, and through a supplemental

  declaration, disclose the identities of all Confidential Transaction Parties that were filed under

  seal, and the connections of WSGR to such Confidential Transaction Parties.

         14.      WSGR will file budget and staffing plans in connection with the filing of its fee

  applications.

         15.      Notwithstanding anything in the Application, the Fay Declaration, or the

  Engagement Letter(s) to the contrary, termination or withdrawal from representation will only be

  allowed upon entry of an Order by this Court.
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 Debtors:              RITE AID CORPORATION, et al.
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                       WILSON SONSINI GOODRICH & ROSATI, P.C. AS SPECIAL BOARD
                       COUNSEL EFFECTIVE AS OF THE PETITION DATE

         16.     Notwithstanding anything in the Application, the Fay Declaration, or the

  Engagement Letter(s) to the contrary, any provision regarding arbitration shall not be applicable

  during the pendency of these chapter 11 cases.

         17.     To the extent that there may be any inconsistency between the terms of the

  Application, the Fay Declaration, the Sabatino Declaration, and this Order, the terms of this Order

  shall govern in all respects.

         18.     Notice of the Application as provided therein shall be deemed good and sufficient

  notice of such Application and the Local Rules are satisfied by such notice.

         19.     Upon its entry, the terms and conditions of this Order shall be immediately effective

  and enforceable.

         20.     The Court retains jurisdiction with respect to all matters arising from or related to

  the implementation, interpretation, and enforcement of this Order.
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                                   Exhibit B

                                    Invoices




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